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12
                          UNITED STATES DISTRICT COURT
13
                        CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (JEMx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION                      DISCOVERY MATTER
17   THIS DOCUMENT RELATES TO                  JOINT STIPULATION
     ALL ACTIONS                               REGARDING PLAINTIFFS’
18                                             MOTION TO COMPEL
                                               PRODUCTION OF DOCUMENTS
19                                             BY APPLE INC.
20                                             Magistrate Judge: Hon. John E.
                                               McDermott
21                                             Date/Time: 6/21/2022, 10:00 a.m.
                                               Discovery Cutoff Date: 8/5/2022
22                                             Pretrial-Conference Date: 2/9/2024
                                               Trial Date: 2/22/2024
23

24           REDACTED VERSION OF DOCUMENT PROPOSED TO BE
                           FILED UNDER SEAL
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  1   information available through party discovery. Nidec Corp. v. Victor Co. of Japan,
  2   249 F.R.D. 575 (N.D. Cal. 2007) (“There is simply no reason to burden nonparties
  3   when the documents sought are in possession of the party defendant.”); High Tech
  4   Med. Instrumentation, Inc. v. New Image Indus., Inc., 161 F.R.D. 86, 88 (N.D. Cal.
  5   1995) (citations omitted) (“the Ninth Circuit has long held that nonparties subject to
  6   discovery requests deserve extra protection from the courts”); Free Stream Media
  7   Corp. v. Alphonso Inc., Case No. 8:17-mc-00011-CJC (KESx), 2017 WL 11632962
  8   at *2 (C.D. Cal. May 4, 2017) (same).
  9         Accordingly, the U.S. District Court for the Northern District of California
 10   regularly quashes subpoenas that ask a non-party to search for and produce
 11   documents that are available from a party to the litigation. See, e.g. Chevron Corp. v.
 12   Donziger, Case No. 13-MC-80038 CRB (NC), 2013 WL 1402727, at *6 (N.D. Cal.
 13   Apr. 5, 2013) (granting a motion to quash where the subpoenaing party had not shown
 14   that the information sought was unavailable from the parties to the underlying
 15   action). Burdening non-party Apple with the collection and production of documents
 16   available and more efficiently obtained from the defendants is oppressive,
 17   unwarranted, and improper, and the Subpoena’s requests for documents available
 18   through party discovery should be quashed. See, e.g. Nidec Corp., 249 F.R.D. at 577
 19   (“The burden on the third party … outweighs the likely benefit of the subpoena at
 20   least in the absence of a convincing showing that the subpoena is likely to yield
 21   unique and material evidence from the third party.”). Apple will not endeavor to
 22   search for and produce documents related to the parties to the litigation (assuming
 23   such documents exist) unless or until plaintiffs can provide information as to why
 24   such documents cannot be obtained via party discovery.
 25         Third, Apple objects to each Request, Definition, and Instruction to the extent
 26   it requires disclosure of Apple confidential commercial information and/or disclosure
 27   of an unretained expert’s opinion or information. Indeed, Request Nos. 5, 6, 7, 8,
 28   9(a)-(g), 10, 11, 12, 13(a)-(b), 14, 16, and 19 all appear to demand highly confidential
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  1   known to Apple and without waiving any additional objections Apple may have to
  2   the Subpoena, all of which are expressly reserved. Apple reserves the right to modify
  3   or amend these responses and objections at any time. Apple further reserves all
  4   objections or other questions as to the competency, relevance, materiality, privilege,
  5   or admissibility as evidence in any subsequent proceeding in or at trial of this or any
  6   other action, for any purpose whatsoever, of any information identified herein or
  7   provided in response to the Subpoena.
  8          Apple remains hopeful that your client will be able to obtain the information
  9   it seeks through party discovery, without the need to burden Apple further. Please
 10   reach out to me to discuss.
 11   III.   PARTIES’ CONTENTIONS
 12          A. PLAINTIFFS’ STATEMENT
 13                1.    Factual and Procedural Background
 14          This antitrust case—brought pursuant to Sections 1 and 2 of the Sherman
 15   Act—revolves around a series of interlocking agreements among and between the
 16   NFL, its 32 member Clubs, and DIRECTV. See Second Consolidated Amended
 17   Complaint (“Compl.”), Dkt. No. 441 ¶¶ 1-13. These agreements form two different,
 18   but symbiotic, restraints: they prohibit all distributors other than DIRECTV from
 19   offering telecasts of out-of-market Sunday afternoon NFL games, and they bar the
 20   Clubs from separately licensing their own broadcast rights. Id. ¶ 11. Together these
 21   restraints ensure that consumers who wish to watch the majority of regular season
 22   NFL games, or any out-of-market NFL game, have only one option available to
 23   them—subscribing to DIRECTV’s “NFL Sunday Ticket” package. Id. ¶ 8. This
 24   purposeful restraint on competition results in supracompetitive prices for NFL
 25   Sunday Ticket, drastically fewer games available to all consumers, and reduced
 26   innovation in broadcasting of live NFL games. Id. ¶¶ 10-12, 19.
 27          DirecTV’s contract with the NFL for the exclusive right to the Sunday Ticket
 28   Package runs through the 2022-2023 season.
                                                13
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  8                                                                        Such documents may
  9   help Plaintiffs further elaborate the relevant market, which is a required element for
 10   an antitrust claim under the Sherman Act given that “[i]t is the plaintiff’s burden to
 11   establish the relevant product and geographic markets,” and to “produce specific
 12   evidence supporting the proposed market definition that is relevant to the particular
 13   legal issue being litigated.” Epic Games, Inc. v. Apple Inc., 559 F. Supp. 3d 898 (N.D.
 14   Cal. 2021) (internal quotation marks omitted).
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 25                 4.     This Court has Jurisdiction to Enforce the Subpoena
 26          Further, there is no question that this Court can enforce a subpoena on a party
 27   that resides outside the district in this multi-district litigation. See, e.g., United States
 28   ex rel. Pogue v. Diabetes Treatment Ctrs. Of Am., Inc., 444 F.3d 462, 468-69 (6th
                                                   19
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  1   Cir. 2006) (“A judge presiding over an MDL case . . . can compel production by an
  2   extra-district nonparty; enforce, modify, or quash a subpoena directed to an extra-
  3   district nonparty; and hold an extra-district nonparty deponent in contempt.”); In re
  4   Clients and Former Clients of Baron & Budd, P.C., 478 F.3d 670, 671-72 (5th Cir.
  5   2007) (explaining that “the overwhelming weight of authority” supports the
  6   proposition that the MDL statute authorizes the MDL judge to “hear and decide
  7   motions to compel or motions to quash or modify subpoenas directed to nonparties
  8   in any district,” including subpoenas for document production). Indeed, this Court
  9   has already granted a motion to compel non-party Charter Communications, Inc.,
 10   which is based in Stamford, Connecticut, to produce documents pursuant to a
 11   subpoena served in the Central District of California. See Dkt. No. 404.
 12                5.     The Protective Order Protects Against Disclosure of Sensitive
 13                       Information
 14         Lastly, Apple’s confidentiality objections lack merit. The protective orders
 15   entered in this matter provide ample protection against the disclosure of confidential
 16   commercial information. See Pizana v. SanMedica Int’l, LLC, 2021 WL 325718, at
 17   *5 (E.D. Cal. Feb. 1, 2021) (denying in part motion to quash because defendant
 18   “fail[ed] to address why the Protective Order in this case is insufficient to protect its
 19   confidentiality interests”); Realtek Semiconductor Corp. v. LSI Corp., 2014 WL
 20   4365114, at *3 (N.D. Cal. Sept. 3, 2014) (“LSI’s confidentiality concerns do not
 21   warrant any modification of the subpoena. The protective order in place . . . provides
 22   sufficient protection for whatever confidential information is included in the
 23   materials at issue.”); Rankine v. Roller Bearing Co. of Am., Inc., 2013 WL 3992963,
 24   at *4 (S.D. Cal. Aug. 5, 2013) (denying motion to quash because “RBC fails to
 25   demonstrate how or why the parties’ stipulated protective order will not adequately
 26   address RBC’s privacy interests”). The Amended Supplemental Protective Order,
 27   which was entered on February 11, specifically addresses “sensitive material
 28   implicated in the negotiation and execution of licensing agreements with the NFL,
                                                 20
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  1   responsive to Request Nos. 11, 16, 17, 18, and 19. (See Stevens Decl. at ¶ 12.) As
  2   such, to the extent Plaintiffs move to compel production of documents in response
  3   to these Requests, the motion should be denied.
  4                6.     Plaintiffs’ Motion Violates Fed. R. Civ. P. 45(f)
  5         Under Rule 45, a subpoena-related motion must be addressed by the court
  6   where compliance with the subpoena is required pursuant to Rule 45(c) — in this
  7   case, the Northern District of California — unless such court transfers the motion to
  8   the court where the action is pending either with the consent of the subpoenaed party
  9   or based upon a finding of “exceptional circumstances.” Fed. R. Civ. P. 45(f); see
 10   also HMD Glob. Oy v. Acacia Rsch. Corp., No. 820MC00127JLSJDEX, 2021 WL
 11   2949471, at *3 (C.D. Cal. Jan. 26, 2021) (“the plain text of Rule 45(f) imbues the
 12   discretion to transfer subpoena-related motions with the district court where
 13   compliance is required”). The “prime concern” of this Rule is that “local nonparties
 14   should be burdened as little as practicable by litigation in which they are not involved,
 15   and local resolution of the motion will typically impose a lighter burden.” Woods ex
 16   del. U.S. v. SouthernCare, Inc., 303 F.R.D. 405, 407-408 (N.D. Ala 2014).
 17         Here, Plaintiffs have not obtained Apple’s consent to transfer (see Stevens
 18   Decl. at ¶¶ 4, 15), sought permissive transfer of the motion by a Northern District of
 19   California court, or established that exceptional circumstances exist and outweigh the
 20   interests of Apple in having the subpoena resolved locally. See Personalized Media
 21   Commc’ns, LLC v. Top Victory Elecs. (Taiwan) Co., No. 16-MC-80122-SK, 2016
 22   WL 8542561, at *1 (N.D. Cal. Aug. 3, 2016). The cases cited by Plaintiffs in their
 23   Section III.A.4, above, each of which pre-dates the 2013 addition of subsection (f) to
 24   Rule 45 regarding the transfer of subpoena-related motions, do not excuse these
 25   failures. Conversely, California district courts have found that MDL courts do not
 26   have jurisdiction to enforce document subpoenas on third parties where compliance
 27   is required in another district. See In re Packaged Seafood Products Antitrust Litig.,
 28   Case No. 15-MD-2670-JLS-MDD, 2018 WL 454440, at *2 (S.D. Cal. Jan. 17, 2018)
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      filing’s content and have authorized the filing.
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